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      AYNUR BAGHIRZADE, IN PRO SE
 5

 6                        UNITED STATES DISTRICT COURT FOR THE
 7                          SOUTHERN DISTRICT OF CALIFORNIA
 8

 9
                                                       )   Case No.: 24CV1077 RSH MMP
10       AYNUR BAGHIRZADE,                             )
                                                       )   MOTION REQUESTING COURT
11                                                         TO INVESTIGATE INSTANCES
                                                       )
12                               Plaintiff,            )   OF INTERFERENCE TO
                                                       )   PLAINTIFFÕS PACER
13             vs.                                     )   ACCOUNT, SPECIFICALLY
                                                       )   PLAINTIFFÕS PACER
14       ARMENIAN NATIONAL                             )   ELECTRONIC FILING SYSTEM
         COMMITTEE OF AMERICA, A                       )   TO OBSTRUCT JUSTICE, AND
15                                                         UNDERTAKE NECESSARY
         NON-PROFIT CORPORATION, et                    )   ACTIONS TO MAINTAIN
16
         al.                                           )   PLAINTIFFÕS NORMAL
                                                       )   ACCESS AND USE OF THE
17                                                     )   ELECTRONIC FILING SYSTEM
                                                       )
18                               Defendants.           )
                                                       )
19                                                     )
                                                       )
20                                                     )   Presiding Judge: Hon. Robert Huie
21                                                     )
                                                       )   Magistrate Judge : Hon. Michelle M.
22                                                     )   Petit
                                                       )
23                                                     )
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      MOTION REQUESTING COURT TO INVESTIGATE INSTANCES OF INTERFERENCE TO PLAINTIFFÕS PACER AC-
      COUNT, SPECIFICALLY PLAINTIFFÕS PACER ELECTRONIC FILING SYSTEM
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                                      I. INTRODUCTION
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 5          Plaintiff bring this extraordinary motion in accordance with Rule 47 of
 6    F.R.C.P. to request the Court to investigate the instances of continuance interfer-
 7    ence with PlaintiffÕs ability to use her Pacer account to file necessary documents in
 8    her case. Plaintiff started experiencing those difficulties right away when she first
 9
      applied to court and at that time was not allowed to file electronically. She was
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      continuously kicked out from Pacer system she set up only to monitor her case and
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      she believes that it was done purposefully so that she couldnÕt monitor and see de-
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      velopments in her case. Later, the problem exacerbated, and recently she couldnÕt
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      file her response to DefendantsÕ Yelp Inc. and Jeremy Stoppelman as well as De-
15    fendants Armenian National Committee of America, Aram Hamparian and Armen-
16    ian National Committee of America Western RegionÕs oppositions to her motion
17    for Leave of Court to file her SAC as a response in Support of her Motion or as
18    Reply to Opposition - in all these filing options Docket numbers 83 and 84 were
19
      missing, and there was a Default sign at the head of the fling system. According to
20
      Court order (Docket # 72) Plaintiff had to file her response on or before November
21
      6, 2024 and therefore she was not in default. It is a good question who messed up
22
      the Pacer filing system to intimidate Plaintiff and not to allow her to file on time.
23

24
      Plaintiff was forced to file her responses under Reply Other function in Pacer sys-
25    tem. This is disturbing. It signals that Defendants try to use illegal and criminal tac-
26    tics to ruin PlaintiffÕs case by interfering now with the justice system. Plaintiff re-
27    quests Court to investigate the instances of the attempts to obstruct the justice and
28    using its power to bring those individuals to responsibility. At the same time Plain-
                                                  !2
      MOTION REQUESTING COURT TO INVESTIGATE INSTANCES OF INTERFERENCE TO PLAINTIFFÕS PACER AC-
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 1
      tiff puts this Court on notice that couple of days before the deadline to submit her
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      opposition to Defendants Armenian National Committee of America, Aram Ham-
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      parian and Armenian National Committee of America Western RegionÕs motion to
 5    dismiss her draft of opposition disappeared from her laptop, and only using restore
 6    functions at her computer she could retrieve it. In two days before the deadline to
 7    submit her response to Defendants Armenian National Committee of America,
 8    Aram Hamparian, Armenian National Committee of America Western Region and
 9
      Defendants Yelp Inc. and Jeremy StoppelmanÕs opposition to her Motion to file
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      SAC Verizon cut off her Internet for ÒnonpaymentÓ, and refused to restore the in-
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      ternet on election day, at the same time hot spot on her prepaid phone was disabled
12
      and she couldnÕt use the internet on her phone to use on her laptop, when she tried
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14
      to use the Internet connection of her landlord - freely available to all residents, the
15    connection showed Self - Assigned IP without even giving an opportunity to the
16    Plaintiff to join to internet by using password.
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18                     II. FACTUAL AND PROCEDURAL BACKGROUND
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            On September 23, 2024, Court made an order allowing Plaintiff to file her
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      documents electronically, however the order was not granted. When she fulfilled
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      all requirements to join the filing system at PACER, she discovered that she still
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24
      canÕt file electronically. She called first to Pacer staff, which referred her to this
25    Court. She was explained that the court order will not be granted because there is
26    court rule requiring all attorneys, even those who are pro se to register and pay for
27    the Pacer account in order to be able to file electronically - this was right before the
28    deadline to file opposition to DefendantsÕ Yelp Inc. and Jeremy StoppelmanÕs mo-
                                                  !3
      MOTION REQUESTING COURT TO INVESTIGATE INSTANCES OF INTERFERENCE TO PLAINTIFFÕS PACER AC-
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      tion to dismiss for failure to state the claim. Plaintiff does not understand how it
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      could be that the so called Court rule was missing in the court order and didnÕt find
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      any reflection in it, and why she was not informed from the beginning that she
 5    needs to register as an attorney with the court in order to be able to file electroni-
 6    cally, and Court staff needed to wait for until the deadline of her response to De-
 7    fendantsÕ Yelp Inc. and Jeremy StoppelmanÕs motion to dismiss in order to let her
 8    know what she has to do. On October 7, 2024, Plaintiff by using electronic filing
 9
      system filed executed summons for Defendants LegalMatch California and Estrella
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      Sanchez (Docket # 61 and 62). When on or around October 22, 2024, she checked
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      those Docket numbers, she discovered that all two dockets are for the summons in
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      the name of Estrella Sanchez. Plaintiff remember it very well that she filed sum-
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14
      mons for both LegalMatch California and Estrella Sanchez. How it happened that
15    both filings turned to be in the name of Estrella Sanchez is a mystery but quite cal-
16    culated mystery. As Plaintiff realized later, it was aimed to destroy her default
17    judgment against LegalMatch California and ensure that she has it only with re-
18    gards to Estrella Sanchez. She was forced again filed the executed summons for
19
      Defendant LegalMatch California (Docket # 76). On or around October 16, 2024 -
20
      just couple of days before the deadline to oppose to Defendants Armenian National
21
      Committee of America, Aram Hamparian and Armenian National Committee of
22
      America Western RegionÕs motion to dismiss, her draft of opposition disappeared
23

24
      from her computer, she wrote a letter to her landlord asking who entered her
25    apartment and received a response that nobody did it. On November 4, 2024, just
26    couple of days before responding to Defendants Armenian National Committee or
27    America, Aram Hamparian, Armenian National Committee of America Western
28    Region and Defendants Yelp Inc. and Jeremy StoppelmanÕs opposition to her Mo-
                                                  !4
      MOTION REQUESTING COURT TO INVESTIGATE INSTANCES OF INTERFERENCE TO PLAINTIFFÕS PACER AC-
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 1
      tion for Leave to File SAC, Verizon cut off her internet alleging non-payment
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      (while Plaintiff had disagreement with provider as to the excessive amount charged
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      to her and Verizon refused to reconsider the bill), at the same time hot spot on her
 5    prepaid phone with Verizon (duly paid) suddenly didnÕt work, but Plaintiff recalls
 6    it very well that it perfectly worked before. She also couldnÕt join to her landlordÕs
 7    network on fifth floor, where internet is available to all residents, her computer
 8    showed Self-Assigned IP for the landlordÕs network without giving her an oppor-
 9
      tunity to use the password and join network.
10
      Finally, on November 6, 2024, when she was trying to file her response to Defen-
11
      dants Armenian National Committee of America, Aram Hamparian, Armenian Na-
12
      tional Committee of America Western Region and Defendants Yelp Inc. and Jere-
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14
      my StoppelmanÕs opposition to her Motion for Leave to file SAC, she couldnÕt do
15    that using Response to Motion or Reply to Motion functions - Docket numbers 83
16    and 84 were missing from the system, and there was a red inscription DEFAULT at
17    the head of the filing system. Plaintiff was not in default to file her reply as accord-
18    ing to CourtÕs oder she had to do that on or before November 6, 2024 (Docket #
19
      72).
20
                                        III. ARGUMETS
21

22
             1. Circumstances of what is happening to PlaintiffÕs Pacer account sug-
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24
      gests another rounds of wire fraud continuously happening in accordance
25    with RICO Statute.
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27           Plaintiff brought her case under Racketeering Influence Corrupt Organiza-
28    tions Act in this Court and now experiences the same nature of wire fraud she
                                                  !5
      MOTION REQUESTING COURT TO INVESTIGATE INSTANCES OF INTERFERENCE TO PLAINTIFFÕS PACER AC-
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 1
      complained about to this Court."A violation of ¤ 1962(c) requires to show (1) con-
 2
      duct (2) of an enterprise (3) through a pattern (4) of racketeering activity.Ó UMB
 3

 4
      Bank v. Guerin, 89 F.4th 1047 (8th Cir. 2024). ÔWe have said that the predicate
 5    acts of mail and wire fraud "occur when a person (1) intentionally participates in a
 6    scheme to defraud another of money or property and (2) uses the mails or wires in
 7    furtherance of that scheme." (Wayne Johnson for Cong., Inc. v. Hunt, 2024 U.S.
 8    App. LEXIS 2850, 2024 WL 471938). ÒUnder the mail and wire fraud statutes, a
 9
      plaintiff only can show a scheme to defraud if he proves that some type of decep-
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      tive conduct occurredÓ, Id. Such deceptive conduct includes "knowingly making
11
      false representations," Òconcealing material facts," and making statements "with
12
      reckless indifference to their truth or falsity." United States v. Sawyer, 799 F.2d
13

14
      1494, 1502 (11th Cir. 1986) . It is very disturbing that Pacer could become a
15    weapon of manipulation in the hands of the people wishing to deprive Plaintiff the
16    opportunity to file her documents on time. Plaintiff therefore, respectfully asks the
17    court to investigate the issue and bring the responsible people to account for con-
18    tinuously messing up PlaintiffÕs Pacer account, withdrawing important documents
19
      from it, placing false and fraudulent information in the system.
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21
            2. Circumstances of what is happening to PlaintiffÕs Pacer account sug-
22
      gests that there are people wishing to obstruct the justice and interfere with
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24
      normal flow of judicial process.
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26          Section 1512 (c) of 18 U.S.C. (Tampering with a witness, victim or infor-
27    mant) states that ÒWhoever corruptly-
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                                                  !6
      MOTION REQUESTING COURT TO INVESTIGATE INSTANCES OF INTERFERENCE TO PLAINTIFFÕS PACER AC-
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 1    (1) alters, destroys, mutilates, or conceals a record, document, or other object, or
 2    attempts to do so, with the intent to impair the object's integrity or availability for
      use in an official proceeding; or
 3
      (2) otherwise obstructs, influences, or impedes any official proceeding, or attempts
 4    to do so,
 5    shall be fined under this title or imprisoned not more than 20 years, or both.
 6

 7
            Section 1512 (2) of 18 U.S.C. states that whoever causes or induces any per-
 8    son toÑ
 9
      (A) withhold testimony, or withhold a record, document, or other object, from an
10
      official proceedingÉ
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      shall be fined under this title or imprisoned not more than 20 years, or both.
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14          Plaintiff experiences a tampering with her documents she is filing in her
15    Pacer account and continuous attempts to interfere with her ability to file on time
16    and be free from harassment and intimidation.
17

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      IV. CONCLUSION
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21          Based on foregoing Plaintiff respectfully asks this Court to investigate the
22    instances of tampering with her ability to file in her Pacer account, to find people
23    or Court staff responsible for the tapering with her ability to access justice system
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      and bring those people to responsibility. Plaintiff also respectfully asks Court to
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      maintain PlaintiffÕs normal access to the electronic filing system without any ma-
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      nipulation, interference and delay.
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      MOTION REQUESTING COURT TO INVESTIGATE INSTANCES OF INTERFERENCE TO PLAINTIFFÕS PACER AC-
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 1    DATED: November 6, 2024.
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 6                                             By: Aynur Baghirzade, Plaintiff
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                                                  Aynur Baghirzade
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      MOTION REQUESTING COURT TO INVESTIGATE INSTANCES OF INTERFERENCE TO PLAINTIFFÕS PACER AC-
      COUNT, SPECIFICALLY PLAINTIFFÕS PACER ELECTRONIC FILING SYSTEM
                                                                          24CV1077 RSH MMP
